
16 Mich. App. 680 (1969)
168 N.W.2d 655
PEOPLE
v.
MAYFIELD
Docket No. 4,766.
Michigan Court of Appeals.
Decided March 28, 1969.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, and Donald M. Goodwillie, Jr., Prosecuting Attorney, for the people.
Donald J. McKay, for defendant on appeal.
BEFORE: McGREGOR, P.J., and R.B. BURNS and DANHOF, JJ.
*681 PER CURIAM:
Defendant pled guilty to larceny in a building, CLS 1961, § 750.356 (Stat Ann 1969 Cum Supp § 28.588), and contends he acted in reliance on the prosecutor's promise of probation. The record does not support, corroborate or substantiate defendant's contention, but rather overtly contradicts his allegation, as evidenced by the following exchange during the acceptance of defendant's plea on arraignment:
"The Court: Has anyone promised you a light sentence if you plead guilty?
"Respondent:[*] No, sir."
Furthermore, the prosecutor explicitly denies promising probation for a guilty plea.
Recent Supreme Court decisions have crystallized the guidelines of proper plea procedure. See People v. Dunn (1968), 380 Mich 693, and People v. Winegar (1968), 380 Mich 719. The lower court complied with those guidelines. Defendant stands convicted, and his unsupported allegation of prosecutorial bartering, prompting the guilty plea, is not sufficient to invalidate otherwise exemplary criminal procedure.
Conviction affirmed.
NOTES
[*]  Defendant is called respondent in the transcript. GCR 1963, 201.1 and 785.1 require that parties to an action be designated as plaintiff or defendant.  REPORTER.

